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         .
                                  UNITED STATES DISTR IG COU RT

                                       D ISTR ICT O F NEVADA

 USA
                      Plaintil
                                                               DistrictNo. 2:09-CR-l13GM N PAL
 VS.


 LUISVEGA-RUBIO,etal


                     Defendant.
                        O RD ER TEM PO RARILY UN SEALING TRAN SC RIPT


          On June22,201lthiscourtrcceived atzanscriptorderform datedJune22,2011requestingaTranscript of
tlzehearing held onJanuary 25,20l1from Mr.Todd M .Leventhal,counselforDefendantLuisVega-Rubio, in
which aportion ofthehearing issealed.

        IT IS THE ORDER OF THE COURT thatportion ofthesealed recording shallbeunsealed bytheClerk
forthelimited purposeofprovidingatransçriptofhearingasrequested byDefenseCounsel.


        IT IS FURTHER ORDERED thattheportionofthesealed recording shallthereatterberesealedbythe
Clerk,lmtilfurtherorderofthisCotu-t,


       IT IS FURTHER ORDERED thatDefenseCounselshallnotdisclosethesealed contentsofthetranscript
toanyoneothert11% therepresentativesofthepartiesdirectly concernedwith thiscase.


       DATED this        dayofJune,201l,


                                                                        N'



                                                G loriaM .N ava o
                                                UnitedStates ' ictJudge
